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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the Oil Rig         *          MDL 2:10-MD-02179
DEEPWATER HORIZON in the                *
GULF OF MEXICO on                       *
APRIL 20, 2010                          *
                                        *          SECTION “J”
                                        *          JUDGE CARL J. BARBIER
RELATED TO                              *
                                        *          MAG. 1
This Document Relates to: 2:11-cv-01051 *
GUY J. ADAMS, ET AL.                    *
                                        *          CIVIL JURY CASE
____________________________________*


                       MEMORANDUM IN SUPPORT OF MOTION
                           FOR SUMMARY JUDGMENT

MAY IT PLEASE THE COURT:

        This matter involves a class action claim brought against multiple defendants including

JMN Specialties, Inc. (hereinafter referred to as “JMN) claiming damages allegedly due to the

fact that “millions of gallons of chemical dispersants were sprayed over the Gulf of Mexico and

coastal zones” to combat the spreading oil from the BP Oil Spill which commenced on or about

April 20, 2010. (See plaintiffs’ Class Action Petition for Damages, Doc. 1-1). Plaintiffs

additionally allege that among the manufacturers of the “chemical dispersants” was JMN

Specialties, Inc.

                                           FACTS



        The facts demonstrate that JMN manufactured no chemical dispersants nor were the

cleaners sold by JMN to BP used as such. BP simply purchased chemicals to be used for


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onshore cleaning of work equipment and to clean the hull of boats that had gone through oil.

The JMN products were not used as dispersants and accordingly the facts demonstrate that JMN

is not within the class of defendants identified by the plaintiffs.

       Attached as “A” is the Affidavit of Joseph Neathamer, the president of JMN Specialties,

Inc. As Mr. Neathamer states in his Affidavit, three degreasers were sold to BP following the BP

Oil Spill, which degreasers were identified as products DG-955, Aqua Clean and Cytosol. The

DG-955 and Aqua Clean are water based while the Cytosol is a vegetable oil based product. All

of the products are non-hazardous chemicals, non-toxic, biodegradable and contain no EPA

hazardous ingredients. (Exhibit “A”). The products were used by BP and its contract service

providers “to clean onshore once equipment was returned from use offshore.” Id. The DG-955

and Aqua Clean were used onshore only and not sold for offshore use while the Cytosol was

only used to clean the hull of boats. Accordingly, none of the products were sold as oil

dispersants. Further, “the products were not used as dispersants of oil following the BP Oil Spill,

nor have they ever been used as such.” See Exhibit “A”, para. 12. To whatever extent plaintiffs

have obtained the name of JMN as a provider to BP following the April, 2010 oil spill, the

products sold by JMN were not dispersants and were not used as such. Accordingly, JMN is not

among the class of potential defendants in this matter and must be dismissed.

                                       APPLICABLE LAW



       Summary judgment should be granted when “there is no genuine issue as to any material

fact and … the moving party is entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(c);

New York Life Ins. Co. v. Travelers, Inc. Co., 92 F.3d 336, 338 (5th Cir. 1996); Rogers v. Int’l

Marine Terminals, Inc., 87 F.3d 755, 758 (5th Cir. 1996). A party moving for summary



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judgment “must demonstrate the absence of a genuine issue of material fact, but need not negate

the elements of the nonmovant’s case.” Little v. Liquid Air Corp. 37 F.3d 1069, 1075 (5th Cir.

1994) (quoting Celotex Corp. v. Catrett, 477 U.S. 317 323-25 (1986). If the moving party meets

this burden, Federal Rule of Civil Procedure 56 requires the non-movant to go beyond the

pleadings and demonstrate by admissible evidence that specific facts exist over which there is a

genuine issue for trial. Wallace v. Texas Tech Univ. 80 F.3d 1042, 1046-47 (5th Cir. 1996). The

nonmovant’s burden may not be satisfied by conclusory allegations, unsubstantiated assertions,

or a scintilla of evidence. Little, 37 F.3d at 1075. The Court will not, “in the absence of proof,

assume that the nonmoving party could or would prove the necessary facts.” Little, 37 F.3d at

1075.

        If the dispositive issue is one on which the non-moving party will bear the burden of

proof at trial, the moving party may satisfy its burden by merely pointing out that the evidence in

the record contains insufficient proof concerning an essential element of the nonmoving party's

claim. The burden then shifts to the nonmoving party, who must, by submitting or referring to

evidence, set out specific facts showing that a genuine issue exists. See Celotex, 477 U.S. at 324,

106 S.Ct. 2548. The nonmovant may not rest upon the pleadings, but must identify specific facts

that establish a genuine issue exists for trial. See Id. at 477 U.S. at 325, 106 S.Ct. at 2548;

        Summary judgment is appropriate “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” FED.R.CIV.P.

56(a). The nonmovant's burden is not satisfied by “conclusory allegations, speculation, and

unsubstantiated assertions.” Ramsey v. Henderson, 286 F.3d 264, 269 (5th Cir.2002)

        When a motion for summary judgment is made and supported as provided in this rule, an

adverse party may not rest upon the mere allegations or denials of the adverse party's pleading,



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but the adverse party's response, by affidavits or as otherwise provided in this rule, must set forth

specific facts showing that there is a genuine issue for trial. Resolution Trust Corp. v. Camp 965

F.2d 25 (5th Cir 1992) at page 29.



                                            ARGUMENT



       In the case at bar, although plaintiffs have alleged that JMN manufactured dispersants

which allegedly caused damage to the marsh, the facts demonstrate that JMN, in fact,

manufactured no such dispersants and all cleaning materials provided to BP and its

subcontractors were used onshore, or alternatively, used offshore solely for the purpose of

cleaning the hulls of boats, not for use as a general dispersant. For whatever reason plaintiffs are

aware of BP’s purchase of JMN’s products, such is not a basis for keeping JMN as a defendant

in this matter when the facts have demonstrated they did not supply the alleged harmful

dispersant.

       Now that JMN has presented a factual basis to meet its initial burden of showing that

there is no genuine issue of material fact to be tried, the burden of demonstrating a basis for

keeping JMN in as a defendant must shift to plaintiff to produce evidence or designate specific

facts showing the existence of a genuine issue for trial. The burden now shifts to the non-moving

(plaintiffs) party to produce evidence or designate specific facts showing the existence of a

genuine issue for trial. Engstrom v. First Nat'l Bank of Eagle Lake, 47 F.3d 1459, 1462 (5th

Cir.1995). In order to satisfy its burden, plaintiffs must put forth competent evidence and

cannot rely on “unsubstantiated assertions” and “conclusory allegations.” See Hopper v. Frank,

16 F.3d 92 (5th Cir.1994); Lujan v. Nat'l. Wildlife Fed'n., 497 U.S. 871, 871-73, 110 S.Ct. 3177,



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111 L.Ed.2d 695 (1990); Donaghey v. Ocean Drilling & Exploration Co., 974 F.2d 646, 649

(5th Cir.1992).

       The case at bar is one in which JMN has been named as a defendant as it may have

appeared on a list of suppliers or some other reason unassociated with whether or not it supplied

dispersants. Accordingly, the plaintiffs have simply named the wrong party as a defendant.

Summary judgment is often appropriate when the plaintiff has named the wrong party as the

defendant. Nelson v. International Paint Co., Inc. 734 F.2d 1084 (5th Cir. 1984) at 1093-1094.

       The facts of the case and the uncontroverted testimony of the president of JMN

demonstrate that the dispersants at issue did not come from JMN. JMN sold no products used as

dispersants in the Gulf as a result of the BP Oil Spill. Accordingly, JMN requests a dismissal of

all claims, with prejudice, and the costs of this matter be assigned as against plaintiffs.


                                               Respectfully submitted:

                                               BLUE WILLIAMS, L.L.P.

                                               s/JOHN C. HENRY
                                               ________________________________________
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the above and foregoing MEMORANDUM IN SUPPORT OF

MOTION FOR SUMMARY JUDGMENT has been served on All Counsel by electronically

uploading the same to LexisNexis File & Serve in accordance with Pre-Trial Order No. 12, and

that the foregoing was electronically filed with the Clerk of Court of the United States District

Court for the Eastern District of Louisiana by using CM/ECF System, which will send a notice

of electronic filing in accordance with the procedures established in MDL 2179, on this 16th day

of January, 2012.

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                                            JOHN C. HENRY
                                            __________________________________________
                                            JOHN C. HENRY




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